                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  UNITED STATES OF AMERICA,                       )
                                                  )
                Plaintiff,                        )
                                                  )
  v.                                              )      No. 3:16-CR-20
                                                  )
  MARK HAZELWOOD, et al.,                         )      Judge Collier
                                                  )
                Defendants.                       )


                                     MEMORANDUM

         Before the Court is a motion in limine by Defendants Mark Hazelwood, Scott Wombold,

  Heather Jones, and Karen Mann to exclude the lay opinion testimony of Darren Seay, a potential

  witness for the United States (the “Government”).        (Docs. 220, 221.)     The Government

  responded in opposition (Docs. 234, 236), and Defendants replied (Doc. 242). The Court will

  DENY Defendants’ motion in limine (Doc. 220).



  I.     BACKGROUND

         Count One of the Amended Superseding Indictment (the “Indictment”) (Doc. 182)

  charges Defendants, each of whom is a former employee of Pilot Travel Centers LLC (“Pilot”),

  with conspiring to commit mail fraud and wire fraud against customers of Pilot in violation of 18

  U.S.C. § 1343 and 18 U.S.C. § 1341. (Doc. 182.) The Indictment alleges Defendants conspired

  to defraud trucking companies who bought fuel from Pilot by promising them discounts but not

  giving them the full benefit of those discounts and by sending false reports to lull those

  customers into thinking they were getting what they had been promised. Counts Two through




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  Six, Eight, and Ten charge Defendants Wombold, Jones, and Hazelwood with commission of

  various acts of wire fraud in violation of 18 U.S.C. § 1343.1

         Mr. Seay is an accountant who has worked for Pilot since 2002, with previous job duties

  including “reporting, accounting, and research of store fuel margins, that is, the profit or loss

  earned by each Pilot travel center from the sale of fuel.” (Doc. 234-15 [Seay Supp. Decl. on

  Prof’l Background] ¶ 2.)      In 2013, after two federal government agencies searched Pilot

  headquarters as part of their investigation into the alleged fraudulent scheme that was eventually

  charged in the Indictment, Pilot conducted an audit of customer accounts that might have been

  affected by the alleged scheme. Mr. Seay was made a senior manager of Pilot’s internal audit.

  In this role, he oversaw the creation of the “Power Pivot Manual Rebate Tool” and the “Power

  Pivot Repricing Tool,” software programs to pull in Pilot data and calculate the difference

  between the discounts Pilot fuel customers received and the discounts they allegedly would have

  received if not for the scheme, so Pilot could repay its customers if it concluded repayment was

  appropriate. (Doc. 221-2 [Ltr. from Seay to Pilot Outside Counsel at Neal & Harwell (March 24,

  2017)] at 2–4.) Mr. Seay’s declaration states he became familiar with customer profit and loss

  statements and with the fuel discount approval process through his work on Pilot’s internal audit.

  (Doc. 234-15 [Seay Supp. Decl. on Prof’l Background] ¶¶ 3–4.)

         On March 29, 2017, the Government sent a letter to counsel for Defendants disclosing

  Mr. Seay as a potential expert witness. (Doc. 221-1.) The Government stated it intended to offer

  Mr. Seay’s testimony as lay opinion testimony under Rule 701 of the Federal Rules of Civil



         1
          Although not relevant to Defendants’ motion, Counts Eleven through Thirteen charge
  Defendant Wombold with false statements in violation of 18 U.S.C. § 1001(1)(2), and Count
  Fourteen charges Defendant Hazelwood with witness tampering in violation of 18 U.S.C.
  § 1512(b)(3).
                                               2



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  Procedure, not as expert testimony under Rule 702, but it was making the disclosure “as a

  precautionary measure.”2 (Id. at 1.) The disclosure covered Mr. Seay’s expected testimony

  about three categories of analyses: (1) Customer Discount Comparison Summaries, opining on

  the difference between the discounts customers were promised and the ones they received (and

  calculated using the Power Pivot tools of which Mr. Seay oversaw the creation); (2) Customer

  Profit Summaries, opining on the profit Pilot received from fuel sales to certain customers; and

  (3) Rebate Payment Request/Approval Summaries, which purport to show who requested and

  approved certain discounts for fuel customers.3



  II.    ANALYSIS

         Rule 701 allows a lay witness to offer an opinion that is “(a) rationally based on the

  witness's perception; (b) helpful to clearly understanding the witness's testimony or to

  determining a fact in issue; and (c) not based on scientific, technical, or other specialized

  knowledge within the scope of Rule 702.” Fed. R. Evid. 701. As described by the Court of

  Appeals,

         Requirement (a) pertains to “first-hand knowledge or observation,” and
         requirement (b) ensures that the proffered opinion is “helpful in resolving issues”
         and does not “amount to little more than choosing up sides.” Fed. R. Evid. 701
         advisory committee's note (1972 Proposed Rules). Requirement (c), added by the
         2000 amendment to Rule 701, serves to “eliminate the risk that the reliability
         requirements set forth in Rule 702 will be evaded through the simple expedient of
         proffering an expert in lay witness clothing.” Fed. R. Evid. 701 advisory
         committee's note (2000).

         2
           The Government does not assert Rule 702 as an alternate ground for admission of Mr.
  Seay’s testimony in connection with Defendants’ motion in limine. (See Doc. 236 [Gov’t Supp.
  Resp.].)
         3
          The disclosure covered a fourth category, Commission-Related Summaries. The
  Government has since represented that it will not seek to introduce these summaries through Mr.
  Seay. (Doc. 234 [Gov’t Resp.] at 3 n.2.)
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  United States v. Kerley, 784 F.3d 327, 337 (6th Cir. 2015).

         Despite the reference in Rule 701(c) excluding opinions within the scope of Rule 702,

  “the drafters intended to preserve the practice of treating certain testimony based on

  particularized knowledge gained through personal experience as lay opinion.” Id. at 339. The

  Advisory Committee’s note specifically refers to the example of permitting an owner or officer

  of a company “to testify as to the value or projected profits of the business.” Fed. R. Evid. 701

  adv. comm. n. (2000), quoted in Kerley, 784 F.3d at 339. “Such opinion testimony is admitted

  not because of experience, training or specialized knowledge within the realm of an expert, but

  because of the particularized knowledge that the witness has by virtue of his or her position in

  the business. The amendment does not purport to change this analysis.” Id. quoted in Kerley,

  784 F.3d at 339.

         In Kerley, the Court of Appeals upheld the admission of lay opinion testimony from two

  bank employees who testified that if the banks had known the true facts of two property sales,

  the loans would not have been approved, even if the employees did not participate in

  underwriting the loans in question. 784 F.3d at 337. The court considered the foregoing

  advisory note and relevant in-circuit precedent in coming to its conclusion. For example, Kerley

  cited with approval an earlier unpublished Sixth Circuit case, Lativafter Liquidating Trust v.

  Clear Channel Commc’ns, Inc., 345 F. App’x 46 (6th Cir. 2009). There, the court allowed lay

  opinion testimony on what a company’s value would have been if the other party had not

  breached a contract. The lay witness in Lativafter Liquidating had personal, particularized

  knowledge of the company because as an investor, he “investigated [its] financials, retaining a

  market research firm to verify [its] market potential,” and he later became a member of the

  company’s board, receiving its monthly financial reports. 345 F. App’x at 50–51. The Court of

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  Appeals held the district court had not abused its discretion when it permitted the witness to

  testify about what the company’s projected value would have been if the other party had not

  breached their contract. Id. at 51.

         The Kerley court also examined and agreed with “a number of decisions from other

  circuits . . . permitt[ing] witnesses to give lay opinion testimony about a business’s policies,

  practices, or procedures, based on an after-the-fact review or analysis of documents or facts, if

  the witness’s testimony derived from personal knowledge gained through participation in the

  business’s day-to-day affairs.” Id. (citing United States v. Munoz-Franco, 487 F.3d 25 (1st Cir.

  2007) (testimony of former bank officer about how a loan should have been classified was

  properly admitted where witness did not remember seeing the loan classifications at issue during

  his employment, but testimony was based on the knowledge of the classification system he

  acquired while employed); United States v. Valencia, 600 F.3d 389 (5th Cir. 2010) (sufficient

  foundation under Rule 701 where former chief risk officer analyzed various natural gas trading

  positions and how the company would have benefited from various changes in pricing, even

  though analysis was completed at government’s request after he left the company, because the

  knowledge and skills he used to do the analysis were acquired through his employment at the

  company); United States v. Rigas, 490 F.3d 208 (2d Cir. 2007) (witness could testify about what

  a company’s related-party-receivables balance would have been if not for certain debt

  reclassifications, where witness’s employment with the company included reviewing its

  accounting records and correcting its financial statements); Burlington N.R.R. Co. v. Nebraska,

  802 F.2d 994 (8th Cir. 1986) (“Personal knowledge or perception acquired through review of

  records prepared in the ordinary course of business, or perceptions based on industry experience,

  is a sufficient foundation for lay opinion testimony.”).)

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          Defendants argue Mr. Seay’s proposed testimony fails to satisfy two requirements of

  Rule 701. First, they argue it is not “rationally based on the witness’s perception” as required by

  701(a) because Mr. Seay’s calculations include both (i) information from business records for

  which he is not directly responsible and (ii) assumptions provided to him by the Government

  about what the various fuel discounts should have been. Second, they argue his testimony is not

  based on particularized knowledge he gained as an employee of Pilot, but on the specialized

  knowledge and technical skill of an expert, which violates Rule 701(c)’s requirement that lay

  opinion testimony cannot be within the scope of Rule 702.

          The Government argued in response that, under relevant precedent,

          proper testimony under Rule 701 includes analysis by a current or even former
          employee regarding an assumed course of conduct’s effect on a business,
          regardless of whether the employee was involved in the transaction at issue, so
          long as the analysis is grounded in the employee’s particularized knowledge
          obtained from the employee’s position with the business and based upon the
          employee’s personal review and perception of the materials relevant to the
          analysis.

  (Doc. 234 [Gov’t Resp.] at 17–18.)       The Government filed two supplemental or amended

  declarations from Mr. Seay: one describing more specifically how the skills he used in

  developing his opinions arose out of his particularized knowledge as a Pilot employee, both in

  his work in fuel margins before the audit and in his work during the audit (Doc. 234-15), and the

  other describing in greater detail how he derived the information and conclusions in his

  summaries (Doc. 234-10). The Government also filed declarations of other Pilot employees to

  support the Government’s position that all of the sources of data from which Seay’s analysis

  pulled were Pilot business records.     (Docs. 234-12, -13, -14, -16, -17, -18.)      Finally, the

  Government asked for a ruling that the summary exhibits reflecting Mr. Seay’s opinions will be

  admissible at trial.

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         Defendants’ arguments against admission under Rule 701 are not persuasive. Their

  attempts to distinguish the present situation from relevant precedent underplay Mr. Seay’s

  previous work with fuel center profits and his role in developing the Power Pivot tools.4 They

  also discount the particularized experience Mr. Seay acquired through Pilot’s audit as

  impermissible “after the fact” knowledge under Rule 701, rather than being part of his regular,

  “day-to-day” duties. Defendants fail to account for the fact that Mr. Seay worked on fuel store

  profits and losses before the audit, as his supplemental declaration makes clear. (Doc. 234-15.)

  Second, Mr. Seay’s work on the audit was not undertaken on behalf of the Government or to

  advance this prosecution. Rather, it was assigned to him as part of new job duties in connection

  with his employment, because Pilot needed to know the scope of the wrongdoing for its own

  purposes. See, e.g., Valencia, 600 F.3d 389 (analysis completed at government’s request after

  witness left the company admissible as lay opinion testimony because the knowledge and skill

  the witness used to complete the analysis were acquired through his employment at the

  company).

         Defendants rely on United States v. Ganier, 468 F.3d 920 (6th Cir. 2006), which held the

  testimony of a computer forensic expert could not be admitted under Rule 701. Ganier is

  inapposite, in that the witness whose testimony was excluded was a special agent from the

  Internal Revenue Service, not someone who had ever worked for a company involved in the

  case. Defendants’ reliance on United States v. Garcia, 413 F.3d 201 (2d Cir. 2008), is similarly

  misplaced; there, the court rejected the admission of supposed lay opinion testimony by a Drug

  Enforcement Agency agent that the defendant was in charge of a criminal operation, where the



         4
           The Court notes that the breadth of Mr. Seay’s relevant and particularized experience at
  Pilot may not have been apparent until the Government filed its response.
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  agent’s opinion derived from the compiled observations of all the investigators, and where the

  agent was, again, never an employee of a relevant company.

         Defendants argue in their reply that the Government has abandoned its argument that

  Seay can offer lay opinion testimony on the second and third categories of summaries—the

  Customer Profit Summaries and the Rebate Payment Request/Approval Summaries—because

  the Government’s response focuses on the admissibility of the first category of summaries—the

  Customer Discount Comparison Summaries. The Government’s response does refer expressly to

  the Customer Discount Comparison Summaries, but its exhibits and declarations provide

  supporting facts for the admissibility of all three categories of summaries, and its request for a

  ruling on admissibility covers all three categories. The Government also expressly dropped a

  fourth category, but not the middle two. Most importantly, the same case law and reasoning

  supports the admissibility of all three categories of summaries.       The Court concludes the

  Government has not abandoned its argument as to the Customer Profit Summaries or the Rebate

  Payment Request/Approval Summaries.



         III.    CONCLUSION

         Under controlling precedent in the Sixth Circuit and persuasive precedent from other

  circuits, Defendants have not shown Mr. Seay’s proposed testimony would not satisfy the

  requirements for lay opinion testimony under Rule 701. Excluding such testimony before trial is

  not warranted. The Court will DENY Defendants’ motion in limine (Doc. 220). A ruling on the

  admissibility of the Government’s proposed summary exhibits reflecting Mr. Seay’s proposed

  lay opinions would be premature, and the Court declines to consider the Government’s request.



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        AN APPROPRIATE ORDER WILL ENTER.


                                            /s/
                                            CURTIS L. COLLIER
                                            UNITED STATES DISTRICT JUDGE




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